      Case 2:99-cr-20002-TLM-MEM                        Document 557          Filed 03/05/08       Page 1 of 1 PageID #:
                                                              1826
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Western District of Louisiana

                   United States of America                         )
                              v.                                    )
                                                                    ) Case No: 2:99CR20002-001
                         Kenneth R. Leday
                                                                    ) USM No: 83364-079
Date of Previous Judgment: 4/18/2005                                )
(Use Date of Last Amended Judgment if Applicable)                   ) Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons U the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       U DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                  Amended Offense Level:
Criminal History Category:               Criminal History Category:
Previous Guideline Range:  to    months  Amended Guideline Range:                                                   to   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS
The presentence calculations did not include cocaine base, therefore no relief is available.




Except as provided above, all provisions of the judgment dated 4/18/2005                 shall remain in effect.

IT IS SO ORDERED.

Order Date:         03/05/2008
                                                                                             Judge’s signature


Effective Date:                                                             Tucker L. Melançon, United States District Judge
                     (if different from order date)                                        Printed name and title
